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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA


  IN RE: Case No. 19-01329

  TRAVINIA ITALIAN KITCHEN AT Chapter 7
  CHARLOTTESVILLE, LLC

                  Debtor



        ORDER GRANTING REINHART FOODSERVICE. LLC'S MOTION FOR
           ALLOWANCE AND IMMEDIATE PAYMENT OF 503rb)r9) CLAIM

        On Motion ofReinhart Foodservice, LLC ("Reinhart"), for allowance of an administrative


expense claim in the amount ofForty-One Thousand Seven Hundred Fifty-Seven and 83/lOOths


($41,757.83) Dollars and immediate payment of the same, pursuant to U.S.C. § 503(b)(9) for the

value of certain goods, in the form of food and food products, sold by Reinhart and received by


Debtor within twenty (20) days prior to the commencement of this case (the "Motion"), the Motion

being noticed, no objection to the Motion being timely filed, and good cause appearing therefore,


now, therefore, it is hereby


       ORDERED that the Application is hereby granted, and Reinhart be and hereby is allowed

an administrative expense claim pursuant to U.S.C. § 503(b)(9) in the amount of Forty-One


Thousand Seven Hundred Fifty-Seven and 83/lOOths ($41,757.83) Dollars and Trustee is directed

to pay said claim no later than the closing of the sale of Debtor's assets.
  FILED BY THE COURT
      05/01/2019



                                               US Bankruptcy Judge
                                               District of South Carolina



    Entered: 05/01/2019
